Case 1:01-cr-10013-.]DB Document 158 Filed 07/26/05 Page 1 of 2 Page|D 153

IN THE UNITED STATES DISTR]CT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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GEORGE E. GRAY

ORDER

The defendant filed a pro se motion for the appointment of new counsel, and a hearing Was
held on Jufy 26, 2005. Assistant U.S. Attorney Jerry Kitchen represented the government, and the

defendant appeared in person and With counsel, Dianne Smothers, Who is appointed

After hearing argument from counsel, and after questioning the defendant, for the reasons

stated in open court the motion is DENIED. Attorney Smothers is to continue representation of the

defendant as to his resentencing under Booker.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE

DATE: 26

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This notice confirms a copy of the document docketed as number 158 in
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M. Dianne Smothers

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Honorable J. Breen
US DISTRICT COURT

